         Case 20-33233 Document 488 Filed in TXSB on 07/24/20 Page 1 of 5



UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
HENRY G. HOBBS, JR.
ACTING UNITED STATES TRUSTEE
REGION 7, SOUTHERN and WESTERN DISTRICTS OF TEXAS
HECTOR DURAN
TRIAL ATTORNEY
515 Rusk, Suite 3516
Houston, Texas 77002
Telephone: (713) 718-4650 x 241
Fax: (713) 718-4670
                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                         §       CASE NO.
                                               §
CHESAPEAKE ENERGY                              §       20-33233 (DRJ)
CORPORATION, et al.,                           §       (Chapter 11)
                                               §       Jointly Administered
       DEBTORS 1                               §

                             NOTICE OF APPOINTMENT OF
                           COMMITTEE OF ROYALTY OWNERS

TO THE HONORABLE DAVID R. JONES
UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW Henry G. Hobbs, Jr., the Acting United States Trustee for Region 7, who
pursuant to 11 U.S.C. § 1102(a)(1) hereby appoints the following eligible creditors to the
Committee of Royalty Owners in this case:




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor
Chesapeake Energy Corporation’s principal place of business and the Debtors’ service address in these
chapter 11 cases is 6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
     Case 20-33233 Document 488 Filed in TXSB on 07/24/20 Page 2 of 5




                Members                                  Counsel for Member
1. B.D. Griffin                              Circelli, Walter & Young, PLLC
   501 N. Thompson, Suite 300                George Parker Young, Esq.
   Conroe, TX 77301                          500 East 4th Street, Suite 250
   Tel. 936-520-7221/936-538-8202            Fort Worth, TX 76102
   Fax 936-760-6920                          Tel. 817-697-4942
   Email: bd.griffin@mctx.org                Fax 817-697-4844
                                             Email: gpy@cwylaw.com


2. Jeff G. Snowden                           Circelli, Walter & Young, PLLC
   Capex Consulting Group                    George Parker Young, Esq.
   3245 Main Street, Suite 235-171           500 East 4th Street, Suite 250
   Frisco, TX 75033                          Fort Worth, TX 76102
   Tel. 214-619-0692/214-514-6382            Tel. 817-697-4942
   Fax 214-619-0694                          Fax 817-697-4844
   Email: jsnowden@capexconsulting.com       Email: gpy@cwylaw.com


3. Ron Carlton                               Sharp Law, LLP
   CTF, Ltd.                                 Rex Sharp, Esq.
   100 Cinder Road NE                        Barbara Frankland, Esq.
   Carrollton, OH 44615-9637                 5301 West 75th Street
   Tel. 330-738-4391                         Prairie Village, KS 66208
   Email: suregroup2@gmail.com               Tel. 913-222-2479/913-901-0505
                                             Fax 913-901-0419
                                             Email: bfrankland@midwest-law.com

                                             and

                                             Krugliak, Wilkins, Griffiths &
                                             Dougherty Co., LPA
                                             Gregory Watts, Esq.
                                             4775 Munson Street, N.W.
                                             Canton, OH 44718
                                             Tel. 330-497-0577
                                             Fax 330-497-4020
                                             Email: gwatts@kwgd.com




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     Case 20-33233 Document 488 Filed in TXSB on 07/24/20 Page 3 of 5




4. Daniel A. Leis                        Harris, Finley & Bogle PC
   Union Pacific Railroad Company        James E. Key, Esq.
   1400 Douglas Street, Stop 1690        777 Main Street, Suite 1800
   Omaha, NE 68179                       Fort Worth, TX 76102
   Tel. 402-544-8533                     Tel. 817-870-8735
   Email: daleis@up.com                  Email: jkey@hfblaw.com


5. Ryan Watts                            Burns Charest LLP
   Addax Minerals Fund, L.P.             Daniel Charest, Esq.
   5950 Berkshire Lane, Suite 1250       Spencer Cox, Esq.
   Dallas, TX 75225                      900 Jackson Street, Suite 500
   Tel. 972-861-0104/214-534-4100        Dallas, TX 75202
   Email: rwatts@springbokenergy.com     Tel. 469-904-4555/214-681-8444
                                         Fax 469-444-5002
                                         Email: dcharest@burnscharest.com


6. Clark A. Beebe                        Indik McNamara & Dallarda, PC
   2092 Lakeside Drive West              Thomas S. McNamara, Esq.
   P.O. Box 194                          123 South Broad Street, Suite 2170
   Highland Lakes, NJ 07422              Philadelphia, PA 19109
   Tel. 908-265-4019                     Tel. 215-567-7125/732-821-2500
   Email: beebeinnj@gmail.com            Fax 215-563-8330/484-930-0408
                                         Email: tmcnamara915@gmail.com

7. Michael D. Donovan                    Donovan Litigation Group, LLC
   1885 Swedesford Road                  Michael D. Donovan, Esq.
   Malvern, PA 19355                     1885 Swedesford Road
   Tel. 610-647-6067                     Malvern, PA 19355
   Fax 610-647-7215                      Tel. 610-647-6067
   Email:                                Fax 610-647-7215
   mdonovan@donovanlitigationgroup.com   Email:
                                         mdonovan@donovanlitigationgroup.com


8. Aaron D. Hovan                        Schnader Harrison Segal & Lewis LLP
   154 Warren Street                     Ira Richards, Esq.
   P.O. Box 336                          1600 Market Street, Suite 3600
   Tunkhannock, PA 18657                 Philadelphia, PA 19103
   Tel. 570-836-3121                     Tel. 215-751-2503
   Email: adh23@columbia.edu             Email: irichards@schnader.com
      Case 20-33233 Document 488 Filed in TXSB on 07/24/20 Page 4 of 5




9. Charles E. Schaffer                    Levin Sedran & Berman
   510 Walnut Street, Suite 500           Charles E. Schaffer, Esq.
   Philadelphia, PA 19106                 510 Walnut Street, Suite 500
   Tel. 215-592-1500/215-518-0309         Philadelphia, PA 19106
   Email: cschaffer@lfsblaw.com           Tel. 215-592-1500/215-518-0309
                                          Email: cschaffer@lfsblaw.com

                                          Larry D. Moffett, Esq.
                                          2086 Old Taylor Road, Suite 1012
                                          Oxford, MS 38655
                                          Email: larry@larrymoffett.com

                                          Lieff, Cabraser, Heimann & Bernstein
                                          LLP
                                          David S. Stellings, Esq.
                                          Daniel Seltz, Esq.
                                          250 Hudson Street, 8th Floor
                                          New York, NY 10013
                                          Email: dstellings@lchb.com
                                          Email: dseltz@lchb.com

                                          Cuneo Gilbert & LaDuca, LLP
                                          Charles J. LaDuca, Esq.
                                          507 C Street, NE
                                          Washington, DC 20002
                                          Email: charles@cuneolaw.com

                                          Barrett Law Group
                                          John W. (“Don”) Barrett, Esq.
                                          P.O. Drawer 927
                                          Lexington, MS 39095
                                          Email: dbarrett@barrettlawgroup.com

                                          The O’Brien Law Group LLC
                                          Michelle R. O’Brien, Esq.
                                          3738 Birney Avenue
                                          Moosic, PA 18507
                                          Email:
                                          mobrien@theobrienlawgroup.com




                                     4
        Case 20-33233 Document 488 Filed in TXSB on 07/24/20 Page 5 of 5




                                                        Law Office of Francis P. Karam
                                                        Francis P. Karam, Esq.
                                                        Jerry Karam, Esq.
                                                        Doug Clark, Esq.
                                                        175 Varick Street
                                                        New York, NY 10014
                                                        Email: frank@fkaramlaw.com

                                                        Obermayer Rebmann Maxwell & Hippel
                                                        LLP
                                                        D. Alexander Barnes, Esq.
                                                        Centre Square West
                                                        1500 Market Street, Suite 3400
                                                        Philadelphia, PA 19102
                                                        Tel. 610-506-8000
                                                        Fax 215-665-3165
                                                        Email:
                                                        alexander.barnes@obermayer.com


Dated: July 24, 2020                          Respectfully Submitted,

                                              HENRY G. HOBBS, JR.
                                              ACTING UNITED STATES TRUSTEE
                                              REGION 7, SOUTHERN and WESTERN
                                              DISTRICTS OF TEXAS

                                              By:     /s/ Hector Duran
                                                      Hector Duran
                                                      Trial Attorney
                                                      Texas Bar No. 00783996
                                                      515 Rusk, Suite 3516
                                                      Houston, TX 77002
                                                      Telephone: (713) 718-4650 x 241
                                                      Fax: (713) 718-4670

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by electronic means
on all PACER participants on this 24th day of July, 2020.

                                              /s/ Hector Duran
                                              Hector Duran, Trial Attorney
